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      Fill in this information to identify the case:

                    TGP COMMUNICATIONS, LLC
      Debtor name __________________________________________________________________

                                              Southern District of Florida
      United States Bankruptcy Court for the:_______________________________
                                                                                                                                      Check if this is an
      Case number (If known):   _________________________                                                                                 amended filing




    Official Form 204
    Cha pt e r 1 1 or Cha pt e r 9 Ca se s: List of Cre dit ors Who H a ve t he 2 0 La rge st
    U nse c ure d Cla im s a nd Are N ot I nside rs                                                                                                   12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete           Name, telephone number,      Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code     and email address of         (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                             creditor contact             debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     Jane Doe - C                                                       Services
1    c/o Jonathan Burns
     POB 191250
                                                                                                                                                   16,546.06
     Saint Louis, MO, 63119


     Jez Morano                                                         Telephone / Internet
2    8750 South Ocean Drive                                             services
     Unit 534
                                                                                                                                                   11,062.06
     Jensen Beach, FL, 34957

     Jane Doe - F                                                       Services
3    c/o Jonathan Burns
     POB 191250
                                                                                                                                                   10,041.70
     Saint Louis, MO, 63119


     Ted Slater                                                         Telephone / Internet
4    2820 N PINAL AVE                                                   services
     STE 12 PMB 209                                                                                                                                9,000.00
     CASA GRANDE, AZ, 85122


     John Doe - C                                                       Services
5    c/o Jonathan Burns
     POB 191250                                                                                                                                    6,001.66
     Saint Louis, MO, 63119

     Jane Doe - D                                                       Services
6    c/o Jonathan Burns
     POB 191250                                                                                                                                    5,202.16
     Saint Louis, MO, 63119


     John Doe - R                                                       Services
7    c/o Jonathan Burns
     POB 191250                                                                                                                                    5,178.55
     Saint Louis, MO, 63119

     John Doe - AA                                                      Services
8    c/o Jonathan Burns
     POB 191250                                                                                                                                    4,492.58
     Saint Louis, MO, 63119




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                     TGP COMMUNICATIONS, LLC
    Debtor          _______________________________________________________                    Case number (if known)_____________________________________
                    Name




     Name of creditor and complete          Name, telephone number,       Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code    and email address of          (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                            creditor contact              debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                          professional        unliquidated, total claim amount and deduction for value of
                                                                          services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                          government
                                                                          contracts)
                                                                                                               Total claim, if   Deduction for      Unsecured
                                                                                                               partially         value of           claim
                                                                                                               secured           collateral or
                                                                                                                                 setoff
     John Doe - CC                                                      Services
9    c/o Jonathan Burns
     POB 191250                                                                                                                                    3,104.19
     Saint Louis, MO, 63119

     John Doe - Y                                                       Services
10 c/o Jonathan Burns
     POB 191250                                                                                                                                    2,755.40
     Saint Louis, MO, 63119


     John Doe - O                                                       Suppliers or Vendors
11 c/o Jonathan Burns
     POB 191250                                                                                                                                    2,540.50
     Saint Louis, MO, 63119

     John Doe - BB                                                      Services
12 c/o Jonathan Burns
     POB 191250                                                                                                                                    2,293.59
     Saint Louis, MO, 63119


     John Doe - W                                                       Services
13 c/o Jonathan Burns
     POB 191250                                                                                                                                    2,194.82
     Saint Louis, MO, 63119

     John Doe - S                                                       Services
14 c/o Jonathan Burns
     POB 191250                                                                                                                                    2,191.16
     Saint Louis, MO, 63119

     Kellie Poen                                                        Suppliers or Vendors
15 344 Fallon Pkwy
                                                                                                                                                   2,000.00
     Saint Peters, MO, 63376

     John Doe - A                                                       Services
16 c/o Jonathan Burns
     POB 191250                                                                                                                                    1,895.56
     Saint Louis, MO, 63119

     John Doe - FF                                                      Services
17 c/o Jonathan Burns
     POB 191250
     Saint Louis, MO, 63119                                                                                                                        1,820.94


     John Doe - M                                                       Services
18 c/o Jonathan Burns
     POB 191250                                                                                                                                    1,399.83
     Saint Louis, MO, 63119

     Jane Doe - I                                                       Services
19 c/o Jonathan Burns
     POB 191250
     Saint Louis, MO, 63119                                                                                                                        1,376.21


     James Kirk                                                         Telephone / Internet
20 947 CENTURY OAKS DR                                                  services
                                                                                                                                                   1,200.00
     Manchester, MO, 63021




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